Case 23-11240-TMH     Doc 19-2   Filed 08/29/23   Page 1 of 9




                         Exhibit B

                    Proposed Final Order
                  Case 23-11240-TMH             Doc 19-2       Filed 08/29/23         Page 2 of 9




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC., et al.,1                            )    Case No. 23- 11240 (TMH)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. ____

          FINAL ORDER (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE
        OPERATING CASH MANAGEMENT SYSTEM, (B) HONOR AND PAY BANK
         FEES, (C) MAINTAIN EXISTING BUSINESS FORMS, (II) SCHEDULING
             A FINAL HEARING, AND (III) GRANTING RELATED RELIEF

             Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), seeking entry of a final order (this “Final

Order”), pursuant to sections 105, 345, and 363 of the Bankruptcy Code, Rules 6003 and 6004 of

the Bankruptcy Rules, and Rule 2015-2 of the Local Rules, (i) authorizing the Debtors to

(a) continue operating the Cash Management System, (b) honor and pay the Bank Fees in the

normal course, including any prepetition Bank Fees, and (c) maintain existing business forms, and

(ii) granting certain related relief, all as more fully set forth in the Motion; and upon consideration

of the Avila Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and this Court having found that this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of

this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;


1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (255) and AmeriFirst Financial, Inc. (4557). The Debtors’ business address is 1550 McKelleps Road, Suite 117,
Mesa, AZ 85203.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

                                                          1
              Case 23-11240-TMH          Doc 19-2     Filed 08/29/23     Page 3 of 9




and this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing

on the Motion were appropriate under the circumstances and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at an interim hearing before this Court (the “Hearing”), and the Court having

entered an interim order on the Motion [Docket No. ___] (the “Interim Order”) and notice of a

final hearing having been provided; and this Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

               The Motion is granted on a final basis, as set forth in this Final Order.

               The Debtors are authorized, but not directed, to: (a) continue operating the Cash

Management System, substantially as identified on Exhibit C to the Motion and as described in

the Motion; (b) honor their prepetition obligations related thereto; (c) use, in their present form,

all preprinted correspondence and Business Forms (including letterhead) without reference to the

Debtors’ status as debtors in possession; (d) continue to use, with the same account numbers, the

Bank Accounts in existence as of the Petition Date, including those accounts identified on Exhibit

D to the Motion, and need not comply with certain guidelines relating to bank accounts set forth

in the U.S. Trustee Guidelines (to the extent applicable); (e) treat the Debtor Bank Accounts for

all purposes as accounts of the Debtors as debtors in possession; (f) deposit funds in and withdraw

funds from the Bank Accounts by all usual means, including checks, wire transfers, and other

debits; and (g) pay the Bank Fees, including any prepetition amounts and any ordinary course Bank

Fees incurred in connection with the Bank Accounts and to otherwise perform their obligations




                                                 2
              Case 23-11240-TMH          Doc 19-2     Filed 08/29/23      Page 4 of 9




under the documents governing the Bank Accounts; provided that in the case of each of (a) through

(g), such action is taken in the ordinary course of business and consistent with historical practices.

                The Banks are authorized to continue to maintain, service, and administer the Bank

Accounts as accounts of the Debtors as debtors in possession, without interruption and in the

ordinary course of business consistent with historical practices, and to receive, process, honor, and

pay, to the extent of available funds, any and all checks, drafts, wires, credit card payments, and

ACH transfers issued and drawn on the Bank Accounts after the Petition Date by the holders or

makers thereof, as the case may be, and all such banks and financial institutions are authorized to

rely on the Debtors’ designation of any particular check or electronic payment request as approved

by this Interim Order; provided that the Debtors shall only instruct or request any Bank to pay or

honor any check, draft, or other payment item issued on a Bank Account prior to the Petition Date

but presented to such Bank for payment after the Petition Date as authorized by an order of the

Court.

               The Banks are authorized to debit the Debtors’ accounts in the ordinary course of

business, consistent with historical practices, without the need for further order of this Court for:

(a) all checks drawn on the Debtors’ accounts which are cashed at such Bank’s counters or

exchanged for cashier’s checks by the payees thereof prior to the Petition Date; (b) all checks or

other items deposited in one of Debtors’ accounts with such Bank prior to the Petition Date which

have been dishonored or returned unpaid for any reason, together with any fees and costs in

connection therewith, to the same extent the Debtor was responsible for such items prior to the

Petition Date; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any,

owed to any Bank as service charges for the maintenance of the Cash Management System.




                                                  3
             Case 23-11240-TMH          Doc 19-2     Filed 08/29/23     Page 5 of 9




                Any existing agreements between or among the Debtors, the Banks, and other

parties shall continue to govern the postpetition cash management relationship between the

Debtors and the Bank, and all of the provisions of such agreements, including, without limitation,

the termination, fee provisions, rights, benefits, offset rights, and remedies afforded under such

agreements shall remain in full force and effect unless otherwise ordered by the Court, and the

Debtors and the Bank may, without further order of this Court, agree to and implement changes to

the Cash Management System and cash management procedures in the ordinary course of

business, consistent with historical practices and the Debtors’ prepetition secured debt agreements,

including, without limitation, the opening and closing of bank accounts, subject to the terms and

conditions of this Final Order.

               To the extent any of the Debtor Bank Accounts are not in compliance with section

345(b) of the Bankruptcy Code or any of the U.S. Trustee’s requirements or guidelines, the Debtors

are hereby granted a period of forty-five days from the date of this Final Order, without prejudice

to seeking an additional extension, to come into compliance with section 345(b) of the Bankruptcy

Code and any of the U.S. Trustee’s requirements or guidelines; provided that nothing herein shall

prevent the Debtors or the U. S. Trustee from seeking further relief from the Court to the extent

that an agreement cannot be reached. The Debtors may obtain a further extension of the thirty day

period referenced above by written stipulation with the U.S. Trustee and filing such stipulation on

the Court’s docket without the need for further Court order.

               For any Banks at which the Debtors hold Bank Accounts that are party to a Uniform

Depository Agreement with the U.S. Trustee, within fifteen (15) days of the date of entry of this

Final Order, the Debtors shall (a) contact such bank, (b) provide such bank with each of the

Debtors’ employer identification numbers, and (c) identify each of their Bank Accounts held at



                                                 4
              Case 23-11240-TMH          Doc 19-2      Filed 08/29/23     Page 6 of 9




such bank as being held by a debtor in possession in the Debtors’ bankruptcy cases. For any Banks

at which the Debtors hold Bank Accounts that are not party to a Uniform Depository Agreement

with the U.S. Trustee, the Debtors shall use their good-faith efforts to cause such Bank to execute

a Uniform Depository agreement in a form prescribed by the U.S. Trustee within thirty (30) days

of the date of this Final Order.

                Subject to the terms hereof, the Debtors are authorized, but not directed, in the

ordinary course of business consistent with historical practices and the Debtors’ prepetition

secured debt agreements, to open any new bank accounts or close any existing Bank Accounts and

enter into any ancillary agreements, including deposit account control agreements, related to the

foregoing, as they may deem necessary and appropriate, provided that the Debtors give notice to

the U.S. Trustee and any official committees appointed in these chapter 11 cases within 15 days

of opening or closing a bank account. The relief granted in this Final Order is extended to any new

bank account opened by the Debtors in the ordinary course of business after the date hereof, which

account shall be deemed a “Bank Account,” and to the bank at which such account is opened,

which bank shall be deemed a “Bank,” provided that any new domestic bank account opened by

the Debtors shall be established at an institution that is a party to a Uniform Depository Agreement

with the U.S. Trustee or is willing to immediately execute such a Uniform Depository Agreement.

               All banks maintaining any of the Bank Accounts that are provided with notice of

this Final Order shall not honor or pay any bank payments drawn on the listed Bank Accounts or

otherwise issued before the Petition Date; provided, however, that any such bank shall not be found

to be in violation of this Final Order nor liable to the Debtors or their estates should any such bank

honor or pay any bank payment (a) in a good faith belief that the Court has authorized such




                                                  5
              Case 23-11240-TMH          Doc 19-2      Filed 08/29/23      Page 7 of 9




payment to be honored, or (b) as the result of a mistake made despite implementation of customary

item handling procedures.

               The Banks are authorized, without further order of this Court, to deduct any

applicable fees from the applicable Bank Accounts in the ordinary course of business consistent

with historical practices and pursuant to the applicable agreements governing each Bank Account.

               The Banks are authorized, without further order of this Court, to charge back to the

appropriate accounts of the Debtors any amounts resulting from returned checks or other returned

items, including returned items that result from ACH transactions, wire transfers, or other

electronic transfers of any kind, regardless of whether such returned items were deposited or

transferred prepetition or postpetition and regardless of whether the returned items relate to

prepetition or postpetition items or transfers, including, without limitation, on account of checks

that have been dishonored or returned as a result of insufficient funds in the Bank Accounts, in

each case to the same extent the Debtors were responsible for such items prior to the Petition Date.

               Subject to the terms set forth herein, any bank, including the Banks, may rely upon

the representations of the Debtors with respect to whether any check, draft, wire, or other transfer

drawn or issued by the Debtors prior to the Petition Date should be honored pursuant to any order

of this Court, and no bank that honors a prepetition check or other item drawn on any account that

is the subject of this Final Order (a) at the direction of the Debtors, (b) in a good-faith belief that

this Court has authorized such prepetition check or item to be honored, or (c) as a result of a

mistake made despite implementation of reasonable customary handling procedures, shall be

deemed to be nor shall be liable to the Debtors, their estates, or any other party on account of such

prepetition check or other item being honored postpetition, or otherwise deemed to be in violation

of this Final Order.



                                                  6
               Case 23-11240-TMH           Doc 19-2       Filed 08/29/23      Page 8 of 9




                Any banks, including the Banks, are further authorized to honor the Debtors’

directions with respect to the opening and closing of any Bank Account and accept and hold, or

invest, the Debtors’ funds in accordance with the Debtors’ instructions; provided that the Banks

shall not have any liability to any party for relying on such representations to the extent such

reliance otherwise complies with applicable law.

                The Debtors shall calculate quarterly fees under 28 U.S.C. section 1930(a)(6) based

on the disbursements of each debtor, regardless of who pays those disbursements.

                Nothing contained in the Motion or this Final Order shall be construed to (a) create

or perfect, in favor of any person or entity, any interest in cash of a Debtor that did not exist as of

the Petition Date or (b) alter or impair the validity, priority, enforceability, or perfection of any

security interest or lien or setoff right, in favor of any person or entity, that existed as of the Petition

Date.

                Nothing contained in the Motion or this Final Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Final

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Final Order;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’



                                                     7
              Case 23-11240-TMH           Doc 19-2      Filed 08/29/23     Page 9 of 9




estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

                 The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

                 Nothing in this Final Order authorizes the Debtors to accelerate any payments not

otherwise due.

                 Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

                 Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

                 The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

                 This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




                                                   8
